         Case 1:23-cr-00100-DAE Document 71 Filed 03/18/24 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

United States of America                      §
                                              §
vs.                                           §      NO: AU:23-CR-00100(1)-DAE
                                              §
(1) Natin Paul                                §

                   ORDER SETTING ZOOM STATUS CONFERENCE


IT IS HEREBY ORDERED that the above entitled and numbered case is set for ZOOM
STATUS CONFERENCE on Wednesday, March 20, 2024 at 10:30 AM, in Courtroom No. 3
on the Fourth Floor of the United States Courthouse, 501 West Fifth Street, Austin, Texas.

The hearing will be conducted by ZOOM. Court staff will be in contact with the parties prior to
the hearing with the details needed for connecting to the conference.


IT IS SO ORDERED this 18th day of March, 2024.




                                                  ______________________________
                                                  DUSTIN M. HOWELL
                                                  UNITED STATES MAGISTRATE JUDGE
